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                                ASICIF Creditor Matrix
Accelerated Wealth
13570 Meadowgrass Dr, Ste 100
Colorado Springs, CO 80921



Behnam Parsaye
3540 Hartsock Ln
Colorado Springs, CO 80917B



Bell Family Trust
2424 Willow Glen Drive
Colorado Springs, CO 80920



Boger Family LT dated September 25, 2018
7516 Short Grass Court
Colorado Springs, CO 80915



Bret G. Dalton and Laura S. Dalton
15005 Jessie Drive
Colorado Springs, CO 80921



Charis Ministries
720 Elkton Dr.
Colorado Springs, CO 80907



Charles Lloyd
47172 Middle Bluff Place
Sterling, VA 20165



Christopher Jonathan Bednar and
Karen Theresa Bednar Revocable Trust
16044 Red Fox Lane
Colorado Springs, CO 80921



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                               ASICIF Creditor Matrix

Colossee Partners, LLLP
7104 Camphor Ln
Colorado Springs, CO 80927



Craig E. Edlund Revocable Living Trust
2503 Lenox Place
Columbia, MO 65203



Dale and Candace Gerlach
2429 Fieldbrook Court
Colorado Springs, CO 80921



Daniel G Lopez and Ofelia C. Lopez LT
1287 Meadowlake Way
Monument, CO 80132



Darla Starr
3873 E. Island Rd.
Ontario, OR 97914



David and Laura Nelson
686 Hawthorne Place
Creedmoor, NC 27522



David and Renate Harris
5440 Paradox Dr.
Colorado Springs, CO 80923



David G Wagner and Avis L Wagner
2341 Distinctive Dr
Colorado Springs, CO 80920



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                                 ASICIF Creditor Matrix

Dawn Carlson
126 Stanwell St.
Colorado Springs, CO 80906



Debora Annette Sudbrack
537 Gardner Street
Castle Rock, CO 80104



Donald Eich and Joan Eich
995 Shrider Road
Colorado Springs, CO 80920



Frank and Donna Willems
1233 Greenland Forest Dr.
Monument, CO 80132



Fredric and Erika Maxwell
7390 Clovis Way
Colorado Springs, CO 80908



Gary R Wolfe and Cheri D Wolfe
1635 Pleier Dr
Colorado Springs, CO 80921



Gerald and Barbara Welborn Trust
1435 Burgendy Ct
Monument, CO 80132



Golden Hills Investments, LLLP
1280 Golden Hills Road
Colorado Springs, Co 80919



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                                 ASICIF Creditor Matrix

Harrison Living Trust
1935 Dennison Ct
Colorado Springs, CO 80918



Janet Zanetell
1214 E. Rustic Drive
Pueblo West, CO 81007



Jeffrey C. Soehnlein, Sr. and
Catherine Sohenlein
4123 Lost Canyon Dr
Loveland, CO 80538



John and Bonnie Harvey
6420 Wilson Road
Colorado Springs, CO 80919



John and Bonnie Hildebrandt
18050 Granite Circle
Monument, CO 80132



Joseph and Janine Little
25778 E Long Ave.
Aurora, CO 80016



Joseph and Jo Anne Santa
2735 Fox Grove Ct.
Colorado Springs, CO 80906



Mainstar Trust, Custodian
FBO Paul Stanley, IRA XXXX3890
PO Box 420
Onaga, KS 66521
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                               ASICIF Creditor Matrix



Mainstar Trust, Custodian
FBO Robert Q Borchert, IRA XXXX8429
PO Box 420
Onaga, KS 66521



Margaret Surbaugh
3685 Park Pointe Drive
Lexington, KY 40509



Mark Hopkins Living Trust dtd 07/23/2013
12386 Tenny Crags Road
Colorado Springs, CO 80921



Mark T Dinsmore
840 Popes Valley Drive
Colorado Springs, CO 80919



Mauna L. Proctor
88 Raven Hills Ct
Colorado Springs, CO 80919



McGinty Family LT dtd 11-15-2010
6680 Prairie Wind Drive
Colorado Springs, CO 80923



Melissa Gorman
2815 E. Alameda Ave
Denver, CO 80209



Michael and Deborah Scruggs
192 Coyote Willow Drive
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                                  ASICIF Creditor Matrix
Colorado Springs, CO 80921



Michael and Denise Mullenex
1807 Bridle Oaks Ln
Colorado Springs, CO 80921



Michael R Leavitt
4705 Keith Court
Colorado Springs, CO 80916



Monika Newman
2541 Stoneridge Dr.
Colorado Springs, CO 80919



MTC, LLC FBO Amanda Whitmire
IRA xxxx15111
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Barbara J Howard
IRA xxxx74879
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Betty File IRA
IRA xxxxA1278
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Bonnie Hildebrandt
IRA xxxx71786
2001 Spring Rd, Suite 700
Oak Brook, IL 60523

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                                  ASICIF Creditor Matrix


MTC, LLC FBO Brad A Sutton Roth
Roth IRA xxxx67267
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Brian C Ludwick
IRA xxxx19867
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Bruce C Baker
IRA xxxx62F78
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Bruce H Fritz II
Roth IRA xxxx46J75
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Carl Hawkins
IRA XXXX95U17
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Dale R Pyne
IRA xxxx47H66
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Daniel Bartholme
IRA xxxx756Y2
2001 Spring Rd, Suite 700
Oak Brook, IL 60523
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                                  ASICIF Creditor Matrix



MTC, LLC FBO Daniel C Lopez
Roth IRA xxxx29U70
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Daniel E Knoepfle
IRA xxxx83550
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO David Sees IRA
IRA xxxx537D1
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Dennis Hadders
IRA xxxx13153
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Diane Bianchi-Bell
IRA XXXX85139
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Donald E Couchman
Roth IRA xxxx38684
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Donald E. Couchman
IRA xxxx257Z8
2001 Spring Rd, Suite 700
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                                 ASICIF Creditor Matrix
Oak Brook, IL 60523



MTC, LLC FBO Doris V Hellyer
IRA xxxx61996
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Douglas Rigirozzi
IRA xxxx74M61
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Edward D Meyer
IRA xxxx73107
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Erik J Nelson
IRA xxxx66643
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Firdausi D Irani
IRA xxxx75635
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Gary Blokland
IRA xxxx79768
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Gary Lenhart
IRA xxxxP16N4
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                               ASICIF Creditor Matrix
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Gayle S Irani
IRA xxxx51222
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO George Brackett
IRA xxxx95X55
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO GMS, Inc. Profit Sharing Pl
IRA xxxx59764
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Greg G Stetson
IRA xxxx44371
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Gregory A Hill
IRA xxxxK2256
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James Bolan
IRA xxxx43790
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James C Miller
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                                ASICIF Creditor Matrix
IRA xxxx65861
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James C Williams
IRA xxxx16133
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James Cromer
IRA XXXX22356
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James Garland
IRA xxxx52768
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James Hermetet
IRA XXXX56140
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO James Orban
IRA xxxx18957
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Jeffrey Morris
IRA xxxx56C85
2001 Spring Rd, Suite 700
Oak Brook, IL 60523




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                                 ASICIF Creditor Matrix
MTC, LLC FBO John Weatherford
IRA xxxx7R790
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Jonathan Brasier
IRA xxxx17669
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Joseph M Hill
IRA xxxxV3477
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Kevin M Powers
IRA xxxx637Z7
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Larry Shores
IRA xxxx22821
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Lee A Lesher
Roth IRA xxxx95J16
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Leonard C Schmitt
IRA xxxx79817
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



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                                 ASICIF Creditor Matrix

MTC, LLC FBO Leslie Schwender
IRA xxxx47845
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Linda Baumgartner
IRA xxxx52X36
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Lynn V Mattie
IRA XXXX31379
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Mack Hounsel
IRA xxxx78459
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Marilyn Gifford
IRA xxxx43285
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Mark Stenicka
IRA xxxxE8745
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Mark T Connell
IRA xxxx58865
2001 Spring Rd, Suite 700
Oak Brook, IL 60523

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                                ASICIF Creditor Matrix


MTC, LLC FBO Martin E Ragain
IRA xxxx54M20
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Mary Ernst
IRA xxxx24637
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Michael C Winton
IRA xxxx83323
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Michael D Karn
IRA xxxx29537
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Nancy A. Powell
Roth IRA XXXX67222
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Nancy Y Schanke
Roth IRA xxxx8UU60
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Norman Selby
IRA XXXX27163
2001 Spring Rd, Suite 700
Oak Brook, IL 60523
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                                  ASICIF Creditor Matrix



MTC, LLC FBO Patricia A Orban
Roth IRA xxxx78921
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Patricia K. Kearns
Roth IRA xxxx47T32
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Paul A Lopez
IRA xxxxU3788
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Paul T Pendleton
IRA xxxx97389
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Randall L Bailey
IRA xxxx21868
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Richard A Matlock, Jr
IRA xxxx456V5
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Robert Aschenbrenner
IRA xxxx68860
2001 Spring Rd, Suite 700
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                                  ASICIF Creditor Matrix
Oak Brook, IL 60523



MTC, LLC FBO Robert Schanke
Roth RA XXXX 48V64
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Robert T McDonough
Roth IRA xxxx24110
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Robyn D Elliot
IRA xxxx96626
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Ronald Price
IRA XXXXY2833
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Samuel E Powell
IRA xxxx38260
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Sharon S Stinson
IRA xxxx18239
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Stephen A Whitney
IRA xxxx12742
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                                 ASICIF Creditor Matrix
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Stephen J Ferrell
IRA xxxx2K924
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Steven Jorgensen
IRA XXXXU6668
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Sunnie Anderson
IRA xxxx31748
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Susan Larsen
Roth IRA xxxx56327
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Thomas J Kirk
IRA xxxx85799
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Thomas L Cullen
Roth IRA XXXX11896
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Thomas Ocvirk
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                                  ASICIF Creditor Matrix
IRA xxxx3Y9X1
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Timothy G. Kearns
IRA xxxx939P9
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Townsend Wolfe IV
Roth IRA xxxx96G51
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Ty Moyers
IRA xxxx59N19
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Vernon K Watkins
Roth IRA XXXX81424
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Vincent Grix
IRA xxxx9X788
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Vladimir Golynskiy
IRA xxxx345Y9
2001 Spring Rd, Suite 700
Oak Brook, IL 60523




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                                  ASICIF Creditor Matrix
MTC, LLC FBO Walter C West Jr
IRA xxxx84772
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Werner R Uebelhoer
IRA xxxx4V230
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO William F Helbig
IRA xxxx11529
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO William Gruenawald
Roth IRA xxxx24279
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO William J Aplin
IRA xxxx59211
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO William R Cullers
IRA xxxx45821
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



MTC, LLC FBO Wyman E Varnedoe
IRA xxxx9X343
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



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                               ASICIF Creditor Matrix

MTC, LLC FBO Yitsin Pauly
IRA XXXX369B6
2001 Spring Rd, Suite 700
Oak Brook, IL 60523



Nancy A. Powell Living Trust
3210 Arena Rd
Colorado Springs, CO 80921



Peter Betka and Patricia Friesen-Betka
10204 Clovercrest Drive
Colorado Springs, CO 80920



Randall and Cynthia Rowe
733 Martin Bay Road
Sagle, ID 83860



Rebecca Arnold
5335 Park Vista Blvd
Colorado Springs, CO 80918



Rex A and Kristi R Manship
3376 Silver Pine Trail
Colorado Springs, CO 80920



Richard and Barbara Howard
3174 Soaring Bird Circle
Colorado Springs, CO 80920



Robert and Ana Maria Waxman
3944 Rawhide Cir
Castle Rock, CO 80104

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                                 ASICIF Creditor Matrix


Robert C Prokopec
5153 Solar Ridge Dr
Colorado Springs, CO 80917



Robert R Brown Living Trust
10 Long Leaf Ln
Hilton Head Island, SC 29926



Roger J Greenhalgh LT dated May 21, 2008
5595 Whimsical Dr.
Colorado Springs, CO 80917



Scott and Elizabeth Crowther
2745 Kittridge Ave
Colorado Springs, CO 80919



Sherri D.M. Brown Living Trust
10 Long Leaf Ln
Hilton Head Island, SC 29926



Steven Dreksler and Therese Bilodeau
5660 Escapardo Way
Colorado Springs, CO 80917



The Martin Family Trust
7225 Oak Hills Trail
Colorado Springs, CO 80919



The McCreedy Living Trust
850 Trumpeters Court East
Monument, CO 80132

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                               ASICIF Creditor Matrix


Thomas and Carolyn Hykes
2652 Red Bird Trail
Castle Rock, CO 80108



Warren and Cheryl Jaeger
8005 Sawback Trail
Colorado Springs, CO 80919



William J. Metzger LT dated June 8, 2018
15659 Lacuna Dr
Monument, CO 80132



William Lawrence Teaff and
Holley Marie Teaff
908 Kentucky Street
Graham, TX 76450




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